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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION
SOUTH TEXAS FRAC, LLC,
Plaintiff,
v. SA-20-CA-678-OLG (HJB)

PHOENIX PROCESS EQUIPMENT, LLC,

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Defendant.

ORDER

Before the Court are the following motions: (1) South Texas Frac LLC’s and WI Texas
Frac LLC’s (hereinafter “Plaintiffs’”) Motion to Exclude and/or Limit the Expert Testimony of
David Hutchinson (Docket Entry 106); (2) Plaintiffs’ Motion to Exclude and/or Limit the Expert
Testimony of Kenneth R. Schweigert (Docket Entry 113); (3) Plaintiffs’ Motion to Exclude
and/or Limit the Expert Testimony of Phoenix Process Equipment Co.’s Non-Retained Experts
(Docket Entry 115); (4) Plaintiffs’ Motion to Exclude and/or Limit the Expert Testimony of
Tommy Mathews and Michelle M. Lee (Docket Entry 119); (5) Defendant’s Motion to Strike
and/or Limit the Testimony of Ruben Garza (Docket Entry 122); (6) Defendant’s Motion to
Strike and/or Limit the Testimony of Rob Hargrave (Docket Entry 123); (7) Defendant’s Motion
to Strike and/or Limit the Testimony of Pat McConnell (Docket Entry 124); and (8) Defendant’s
Motion to Strike and/or Limit the Testimony of Michael Wick (Docket Entry 126). Pretrial
matters in this case have been referred to the undersigned pursuant to 28 U.S.C. § 636(b)(1).

(See Docket Entry 41.)
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A hearing was held on the parties’ motions on October 4, 2021. In accordance with the

Court’s ruling at the hearing, it is hereby ORDERED as follows:

1)

2)

Plaintiffs’ Motion to Exclude and/or Limit the Expert Testimony of David
Hutchinson (Docket Entry 106) is GRANTED IN PART, DENIED IN PART,
and DENIED WITHOUT PEJUDICE IN PART. The Motion is GRANTED
to the extent that Hutchison’s testimony is limited to his opinions set out at pages
15 and 16 of his report. (See Docket Entry 106-2, at 15-16.) The Motion is
DENIED with regard to Plaintiffs’ objections to Hutchinson’s qualification to
testify as an expert in accordance with Federal Rule of Evidence 702. The
Motion is DENIED WITHOUT PREJUDICE as to Plaintiffs’ claims regarding
the relevance of Hutchinson’s testimony; this issue may be reconsidered via
motion in limine or objection at trial.

Plaintiffs’ Motion to Exclude and/or Limit the Expert Testimony of Kenneth R.
Schweigert (Docket Entry 113) is GRANTED IN PART, DENIED IN PART,
and DENIED WITHOUT PEJUDICE IN PART. The Motion is GRANTED
IN PART and DENIED WITHOUT PREJUDICE IN PART as to
Schweigert’s testimony regarding frac sand mine operations relating to Plaintiffs’
breach of contract claim; this testimony is limited to damages only. As to
Schweigert’s testimony as to “geological” issues and Plaintiffs’
“misunderstanding” of data (See Docket Entry 113, at 2, 13-14), the testimony is
limited to rebuttal only. The Motion is DENIED as to Plaintiffs’ general

objections to Schweigert’s qualifications, and it is DENIED WITHOUT
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3)

4)

5)

PREJUDICE as to Schweigert’s testimony relevant to Plaintiffs’ negligence claim,
and as to any other arguments regarding the legal relevance of the witness’s
testimony.

Plaintiffs’ Motion to Exclude and/or Limit the Expert Testimony of Tommy
Mathews and Michelle M. Lee (Docket Entry 119) is DENIED WITHOUT
PREJUDICE. On or before November 4, 2021, Defendant must supplement
the report of these experts. Plaintiffs may then renew their motion on or before
November 18, 2021, and Defendant may respond on or before December 2,
2021.

Plaintiffs’ Motion to Exclude and/or Limit the Expert Testimony of Phoenix
Process Equipment Co.’s Non-Retained Experts (Docket Entry 115), Defendant’s
Motion to Strike and/or Limit the Testimony of Ruben Garza (Docket Entry 122),
Defendant’s Motion to Strike and/or Limit the Testimony of Rob Hargrave
(Docket Entry 123), and Defendant’s Motion to Strike and/or Limit the Testimony
of Pat McConnell (Docket Entry 124) are DENIED IN PART and DENIED
WITHOUT PREJUDICE IN PART. The Motions are DENIED with respect
to the qualifications of these witnesses to testify as experts in accordance with
Federal Rule of Evidence 702. Other arguments in the Motions are DENIED
WITHOUT PREJUDICE to reconsideration via motion in limine or objection at
trial.

Defendant’s Motion to Strike and/or Limit the Testimony of Michael Wick (Docket

Entry 126) is GRANTED IN PART and DENIED IN PART. The Motion is
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GRANTED with respect to any legal opinion regarding warranties or intentional

misrepresentations made by Plaintiffs. Otherwise it is DENIED.

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United States Magistrate Judge

SIGNED on October 4, 2021.
